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                                                      UNITED STATES DISTRICT COURT
                                                     CENTRAL DISTRICT OF CALIFOR1vIA

UNITED STATES OF AMERICA,                                                     Western Division
                                                                Plaintiff,
                                  vs.                                         Case Number: 2:19-MJ-02166-1              Out of District Affidavit
                                                                              Initial App. Date: 05/22/2019             Custody
Hao   in                                                                      Initial App. Time: 2:00 PM




                                                             Defendant.      Date Filed: 05/22/2019
                                                                             Violation: 21USC963, 18USC1956 h}                          S
                                                                             ~          t/Reporter:       6{ l~            ~us~~~

      PROCEEDINGS HELD BEFORE UNITED STATES                                                      CALENDAR/PROCEEDINGSSHEET
         MAGISTRATE JUDGE: Jean P. Rosenbluth                                                     LOCAL/OUT-OF-DISTRICT CASE



PRESENT:                  Martinez, Beatriz
                                                                        ~ k't SOY1~
                            Deputy Clerk                             Assistant U.S. Attorne                       Interpreter/Language          J
        ~J IN  J,T~AL APPEARANCE NOT HELD -CONTINUED
        defendant informed of charge a~n fight to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
              3~ preliminary hearing OR 'removal hearing /Rule 20.
        ~:7 Defendant states true name C is as charged ~ is
        EJ Court ORDERS the caption of the Indictment/Information be changed to reflect defendant's different true name. Counsel are
            ~di cted to file all future documents reflecting the true name as stated on the record.
        e~'Defendant advised of consequences of false statement in financial affidavit. C Financial Affidavit ordered SEALED.
        ~
        r Attorney: Adam Olin, DFPD                 pointed =7 Prev. Appointed [3 Poss. Contribution (see sepazate order)
             ~cial appearance by:
        e~'~G 'ernment's request for ~de ntion is: ". GRANTED ❑DENIED `:" WITHDRAWN €J CONTINUED
       ~lDefendant is ordered: ~l'ermanently Detained -= Temporarily Detained (see separate order).
             B L FIXED AT $                                          (SEE ATTACHED COPY OF CRS BOND FORM FOR CONDTTIONS)
             Government moves to UNSEAL ComplaintMdictment/Information/Entire Case: ~'~~~C~RANTED ~~ DENIED
       `~ Preliminary Hearing waived.
        ~l Class B Misdemeanor `J Defendant is advised of maximum penalties
             This case is assigned to Magistrate Judge                                                 .Counsel are directed to contact the clerk for
             the setting of all further proceedings.
        ~7PO/PSA R'ARRANT G Counsel are directed to contact the clerk for
             District Judge                                                            for the setting of further proceedings.
         ".~ Preliminary Hearing set for                                    at 4:30 PM
          7 PIA set for:                                    at 11:00 AM in LA; at 10:00 AM in Riverside; at 10:00 AM in Santa Ana
       }~ Government's motion to dismiss case/defendant                                                   only: ~~ GRANTED C DENIED
       :~7 Defendant's motion to dismiss for lack of probable cause: ~ GRANTED :~ DENIED
       defendant executed Waiver of Rights. ~?~cess received.                                            ~)          `       ~r,~n
             Court ORDERS defendant Held to Answer to                                   District of      I~~ V P~vY ~
              r. Bond to transfer, if bail is posted. Defendant to report on or before
              warrant of removal and final commitment to issue. Date issued:           ~        Z ~ ~j         By CRD:                ~ ~~
              ^' Warrant of removal and final commitment are ordered stayed until
        ~~~ Case continued to (Date)                                          (Time)                                  AM / PM
             Type of Heazing:                                   Before Judge                                        /Duty Magistrate Judge.
                   edings will be held in the ~ _' Duty Courtroom                            __~ Judge's Courtroom
               efendant committed to the custody of the U.S. Marshal "! Summons: Defendant ordered to report to USM for processing.
       `_7 Abstract of Court Proceeding(CR-53)issued. Copy forwarded to USM.
       [_^: Abstract of Order to Return Defendant to Court on Next Court Day(M-20)issued. Original forwarded to USM.
             R~EASF,~O~RDE NO:
                                                             ~
          Wither: L           ~ ~. el ,OS .~h1~                    b Vl) U 1 ~„ltl_ ~1a1 ~.P/Y1 hIl'll~. l nS~~ ~~'l~0
                             ~]'PSA E_~ USPO                           .1~'1NANCIAL                 1        ~1~,AllY
                                                                                                                  Deputy Clerk Initials ~~



 M-5 (10/13)                             CALENDAR/PROCEEDING SHEET -LOCAL/OUT-OF-DISTRICT CASE                                        Page 1 of 1
